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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


____________________________________
                                    )
                                    )
ANN MARIE RONCA                     )
                                    )                               Civil Action No.
                    Plaintiff,      )                               1: 16-cv-10796-LTS
                                    )
v.                                  )
                                    )
                                    )
RETRIEVAL MASTERS CREDITORS         )
BUREAU, INC.                        )
doing business as                   )
American Medical Collection Agency  )
                    Defendant.      )
____________________________________)


     60 DAY SETTLEMENT ORDER OF DISMISSAL& CLOSING ORDER


SOROKIN, J

       The Court having been advised that the above captioned action settled:

It is hereby ORDERED that this action is hereby dismissed without costs and without prejudice
to the right of any party, upon good cause shown, to reopen the action within 60 days if
settlement is not consummated.



                                                            By the Court,


                                                            /s/ Maria Simeone
                                                            Courtroom Deputy Clerk
                                                            The Honorable Leo T. Sorokin



To: All Counsel
